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UNITED STATES DISTR!CT coURT F"ED BY ..___C/D.c.

WESTERN DIS'I`RICT OF TENNESSEE

 

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ARVIS R. CLARK, Q§§,’/§EU§ ngglm
Plaintiff,
v. No. 04-3046-DP
FEDEX EXPRESS,
Defendant.

 

JOBH‘=BRB£QSED SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held on August ll, 2005.
Present Were Arvis Clark, pro se Plaintiff, and Mary H. Bea:rd, counsel for Defendant
Federal Express Corporation. At the conference, the following dates were established as
the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(l): The parties will
exchange Rule 26 (a)(l) Initial Disclosures on August 25, 2005.
JOINING PARTIES: October 10, 2005
AMENDING PLEADINGS: October 10, 2005
INTIAL MOTIONS 'I`O DISMISS: November 9, 2005
COMPLETING ALL DISCOVERY; April 10, 2006
(a) DOCUMENT PRODUCTION: April 10, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR

ADMISSIONS: April lO, 2006 /

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(c) EXPERT wITNEss DIscLosURE (Rule 26);

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: February 9, 2006

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: March 9, 2006

(3) EXPERT WITNESS DEPOSTIONS:
FILING DISPOSITIVE MOTIONS: May 10, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All
motions, requests for admissions, or other filings that require a response must be filed
sufficiently in advance of the discovery cutoff date to enable opposing counsel to respond
by the time permitted by the Rules prior to that date.

Motion to compel discovery are to be filed and served by the discovery deadline
or within 30 days cf the default or the service of the response, answer, or objection,
which is the subject ofthe motion, if the default occurs Within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for good cause shown, or
the objection to the default, response, answer or objection shall be waived.

The case is set for jury trial and the trial is expected to last ._3"_5 day (s). The
pretrial order date, pretrial conference date, and trial date will be set by the presiding
judge.

The case is appropriate for ADR. The parties are directed to engage in court~

annexed attorney mediation or private mediation after the close of discovery.

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The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions,
except motions pursuant to Fed.R.Civ.P. 12, 56, 59, and 60 shall be accompanies by a
proposed order.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. If a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this order will not be

modified or extended.

IT IS SO ORDERED. M

TU M. PHAM
UNITED STATE MAGISTRATE JUDGE

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DATE. N%M cl{ 3

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PROPOSED BY:

  
 

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Signed by Mary H. Beard ja NW
with express permission

f umde

ard (TN Bar No. 20619)
r Defendant
FEDE L EXPRESS CORPORATION

Legal Department - Litigation
Building B, Third Floor

3620 Hacks Cross Road
Memphis, Tennessee 38125-8800
(901) 434-806] (Telephone)
(901) 434-9279 (Facsimile)

CERTIFICATE OF SERVICE

l hereby certify that I have served a true and correct copy of the foregoing Joi

Proposed Scheduling Order by ( ) U.S. Mail, first-class postag prepai ; ( ) fax; (
FedEx delivery and/or ( )hand delivery, on the few of _ , 2004,

addressed to the following:

Mr. Arvis Clark

Pro Se Plaintiff

1549 Elliston Road
Memphis, Tennessee 38106

 

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 8 in
case 2:04-CV-03046 was distributed by fax, mail, or direct printing on
August ll, 2005 to the parties listed.

 

Mary Helen Beard
FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building B.
l\/lemphis7 TN 38125--880

Arvis R. Clark
1549 Elliston Rd.
l\/lemphis7 TN 38106

Honorable Bernice Donald
US DISTRICT COURT

